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11                                                 Attorneys for Plaintiff Yuga Labs, Inc.
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14                        UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                                WESTERN DIVISION
17
18   Yuga Labs, Inc.,                                   Case No. 2:22-cv-04355-JFW-JEM
19                                    Plaintiff,        STIPULATION TO EXTEND TIME
20                                                      TO RESPOND TO COMPLAINT
           v.                                           AND MODIFY BRIEFING
21                                                      SCHEDULE FOR 12(B) MOTIONS
22   Ryder Ripps, Jeremy Cahen, Does 1-10,
                                                        Judge: Hon. John F. Walter
23
24                               Defendants.
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 1           Pursuant to Civil Local Rule 7-1 and this Court’s Standing Order ¶ 7 (Dkt. 14),
 2   Plaintiff Yuga Labs, Inc. (“Plaintiff” or “Yuga Labs”) and Defendants Ryder Ripps
 3   and Jeremy Cahen (“Defendants”) (collectively, the “Parties”), through their
 4   respective counsel of record, hereby stipulate as follows:
 5                        Extended Deadline to Respond to Complaint
 6           WHEREAS, Plaintiff filed the Complaint (Dkt. 1) against Defendant Ripps and
 7   Defendant Cahen on June 24, 2022;
 8           WHEREAS, Defendant Ripps was served with the Complaint on June 29, 2022
 9   and Defendant Ripps’ current deadline to respond to the Complaint is July 20, 2022;
10           WHEREAS, Defendant Cahen was served with the Complaint on July 14, 2022
11   and Defendant Cahen’s current deadline to respond to the Complaint is August 4,
12   2022;
13           WHEREAS, the Parties agreed that Defendant Cahen would accept service of
14   the Complaint by email through counsel and such service has been effected as a result
15   of the Parties’ agreements set forth herein;
16           WHEREAS, the Parties have agreed and request that the deadline for both
17   Defendants to respond to Plaintiff’s Complaint be set to August 29, 2022, which
18   extends Defendant Ripps’ deadline to respond to the Complaint by forty (40) days and
19   extends Defendant Cahen’s deadline to respond to the Complaint by twenty-five (25)
20   days;
21           WHEREAS, the Parties have also agreed and request that, in the event this
22   extension is granted, the hearing date for any motion filed pursuant to Fed. R. Civ. P.
23   12(b) will be on or after October 3, 2022.
24           WHEREAS, good cause exists to grant these requests so Defendants can
25   properly review and respond to Plaintiff’s claims and assess potential defenses.
26   Defendants retained their undersigned litigation counsel less than two weeks before
27   Defendant Ripps’ response is due. The Parties agree that this case will likely involve
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 1   novel issues of law and fact. Given the complexity of the case, Defendants believe
 2   that additional time is needed to respond to the Complaint.
 3         WHEREAS, good cause exists to grant these requests because setting one
 4   response date for all Defendants promotes the interests of efficiency and judicial
 5   economy. Plaintiff was unable to serve Defendant Cahen until recently, resulting in a
 6   response date more than two weeks later than Defendant Ripps. Setting different
 7   response dates for Defendants would undermine Defendants’ counsel’s ability to
 8   coordinate their clients’ defenses, and perhaps require Plaintiff and the Court to
 9   address two separate 12(b) motions at two separate times. Setting a single response
10   date, as this stipulation requests, would allow Defendants’ counsel sufficient time to
11   consolidate their arguments for both clients in a single motion to dismiss, if they
12   choose to file one.
13         WHEREAS, good cause exists to grant these requests because the Parties
14   agreed on the extended deadline through an exchange of concessions to accommodate
15   each party’s legitimate concerns and availability in order to advance this case
16   meaningfully and expeditiously. Denying these requests may provide an unfair
17   advantage to one party.
18         WHEREAS, good cause exists to grant these requests because the current
19   deadline to respond to the Complaint conflicts with Defendants’ counsel’s pre-existing
20   obligations for a court hearing and out-of-country travel plans.
21         WHEREAS, this is the Parties’ first request to extend the deadline to respond to
22   the Complaint and set a hearing date.
23                         Modified Briefing Schedule for 12(b) Motions
24         WHEREAS, the Local Rules for the United States District Court for the Central
25   District of California require that an opposition to a motion must be on file “not later
26   than twenty-one (21) days before the date designated for the hearing of the motion”
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 1   and replies must be on file “not later than fourteen (14) days before the date
 2   designated for the hearing of the motion.” L.R. 7-9, 7-10.
 3            WHEREAS, this Court’s Standing Order states: “No motion shall be noticed for
 4   hearing for more than 35 calendar days after service of the motion unless otherwise
 5   ordered by the Court.” Standing Order ¶ 5(a).
 6            WHEREAS, the Parties have agreed to and request a modified briefing
 7   schedule for any motion filed pursuant to Fed. R. Civ. P. 12(b) on or before August
 8   29, 2022 to the effect that:
 9                1. any opposition to such motion would be due on or before thirty (30) days
10                   after the motion is filed;
11                2. any reply to such opposition would be due on or before fourteen (14)
12                   days after the opposition is filed; and
13                3. the date of the hearing on such motion would be set on the first Motion
14                   Day1 that is at least fourteen (14) days after the filing date for the reply.
15            WHEREAS good cause exists to grant this request due to the complexity of
16   issues in this case. The Parties agree that Plaintiff’s Complaint raises complex and
17   novel issues of law and fact. The Parties believe that, in the event Defendants file a
18   motion to dismiss, Plaintiff would need additional time to prepare their opposition to
19   address the novel and complex issues that would be involved in this motion.
20   Likewise, the Parties believe that Defendants would need additional time to prepare
21   their reply to address the novel and complex issues that would be involved in
22   Plaintiff’s opposition.
23            WHEREAS, good cause exists to grant this request because the parties agreed
24   on the modified briefing schedule through an exchange of concessions to
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          The Court “hears motions on Mondays commencing at 1:30 p.m.” Standing Order ¶
27   5(a) (Dkt. 14).
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 1   accommodate each party’s legitimate concerns and availability in order to advance
 2   this case meaningfully and expeditiously. Denying this request may provide an unfair
 3   advantage to one party.
 4         WHEREAS, this is the Parties’ first request to modify any briefing schedule,
 5   and this modification will not impact any dates set or ordered by the Court.
 6                                       STIPULATION
 7         THEREFORE, IT IS HEREBY STIPULATED, AGREED, and JOINTLY
 8   REQUESTED by the parties, through their respective attorneys, that:
 9         1.     Defendant Ripps’ deadline to respond to the Complaint was July 20, 2022,
10   and Defendant Cahen’s deadline to respond to the Complaint was August 4, 2022.
11         2.     Defendants Ripps and Cahen’s deadline to respond to the Complaint shall
12   be set to August 29, 2022.
13         3.     If this extension is granted, the hearing for any motion filed by
14   Defendants pursuant to Fed. R. Civ. P. 12(b) on or before August 29, 2022 shall be
15   held on or after October 3, 2022.
16         4.     For purposes of any motion filed pursuant to Fed. R. Civ. P. 12(b):
17                    a. any opposition to such motion shall be due on or before thirty (30)
18                       days after the motion is filed;
19                    b. any reply to such opposition shall be due on or before fourteen (14)
20                       days after the opposition is filed; and
21                    c. the date of the hearing on such motion shall be set on the first
22                       Motion Day that is at least fourteen (14) days after the reply is
23                       filed.
24         5.     This stipulation is without prejudice to the rights, claims, arguments, and
25   defenses of all parties.
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 1                  ATTESTATION OF CONCURRENCE IN FILING
 2         Pursuant to the United States District Court for the Central District of California’s
 3   Civil L.R. 5-4.3.4(a)(2)(i), Henry Nikogosyan attests that concurrence in the filing of
 4   this document has been obtained from Kimberly Culp.
 5
 6   Dated: July 14, 2022                    By: /s/ Louis W. Tompros
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that a copy of the foregoing document was served on all attorneys
 3   of record via the Court’s ECF on July 14, 2022.
 4
 5   Dated: July 14, 2022                   By: /s/ Louis W. Tompros
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